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                        IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF OKLAHOMA

  MARILYN PHILLILPS,                           )
                                               )
                         Plaintiff,            )
                                               )
  v.                                           )           Case No. 17-CV-547-JHP-JFJ
                                               )
  FARMERS INSURANCE                            )
  COMPANY, INC.,                               )
                                               )
                         Defendant.            )

               PLAINTIFF'S MOTION IN LIMINE AND BRIEF IN SUPPORT

         The Plaintiff Marilyn Phillips moves the Court to enter an Order in Limine excluding the

  following evidence:

         1.      Photographs of the cars taken after the wreck are not relevant.

         Since Farmers admits that Ms. Rooker is 100% responsible for the wreck, the photos

  would not help the jury decide who is at fault. Nor are the photographs admissible to show the

  cause, nature and/or extent of the injuries to Ms. Phillips. Farmers filed its final witness list on

  May 16, 2018 [Doc. 25]. In reviewing the proposed testimony of the witnesses, there is no

  suggestion that any witness can or will testify that the amount of damage to the cars is relevant to

  any issue in the case. Farmers has not retained an expert to testify that there is a relationship

  between the property damage shown in the photographs and the injuries to Ms. Phillips.

         It is not clear how Farmers would use these photographs at trial. Presumably, Farmers

  would show the photographs to Ms. Phillips and ask her if the photographs accurately show the

  damage to her car. Presumably, Farmers would then show the photographs to the jury during

  closing argument and say or infer that Ms. Phillips couldn’t be hurt as bad as she claims because

  of the amount of damage to her car, or words to that effect. In essence, Farmers will be asking
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  the jury to speculate about the relationship between the property damage to the car and the

  physical damage to Ms. Phillips.       A jury’s verdict cannot be based upon speculation or

  guesswork. OUJI 3.3

           The Society of Automotive Engineers published a paper in 1997 titled “Lack of

  Relationship Between Vehicle Damage and Occupant Injury”. The article is attached as Ex. 1.

  The Abstract states “A common misconception formulated is that the amount of vehicle crash

  damage due to a collision, offers a direct correlation to the degree of occupant injury. This paper

  explores this concept and explains why it is false reasoning.” The articles goes on to say that

  “evaluation of occupant injury when related to vehicle damage can only be made when several

  factors are taken into account”, including velocity of vehicle or objects on impact; crushing or

  arresting distance of the vehicle or object; ability of the vehicle to dissipate the energy of the

  impact; degree of muscular stimulation at the time of impact, i.e., was impact anticipated by the

  occupant; structural strength of the occupant and geometric dimensions of the occupant. The

  Summary states “the crush damage does not relate to the expected occupant injury, i.e., the more

  vehicle damage, the more chance that the occupant is injured, is not a conclusion that can be

  made.”

           Farmers cannot prove that the photographs bear any relationship to the cause, nature and

  extent of the injuries sustained by Ms. Phillips. Merely showing the photos to the jury and

  asking them to speculate about the relationship between the vehicle damage and occupant injury

  would be highly prejudicial to the Plaintiff and would force the jury to engage in prohibited

  speculation and guesswork. A verdict cannot be based upon mere speculation and conjecture.

  Elms v. Chicago, Rock Island and Pacific Railroad, 1962 OK 130.




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         2.      The Police Report is inadmissible.

         During the deposition of Dr. Jeff Fox, Farmers referred to the Police Report and

  questioned Dr. Fox about some of the contents of the police report. Farmers did not offer the

  Police Report into evidence. If Farmers offers the Police Report as evidence at trial, it should be

  excluded because it is hearsay. FRE 803.

         3.      The “transcript” of a phone conversation between Marilyn Phillips and an

  insurance adjuster is not admissible.

         During the deposition of Dr. Fox and Dr. David Mokhtee, Farmers referred to a

  document that purports to be a “transcript” of a telephone conversation between Marilyn Phillips

  and an insurance adjuster. The “transcript” is attached as Ex. 2.

         Farmers asked Dr. Fox about it in his deposition and Dr. Fox stated that the statement did

  not contain a reference to a shoulder injury. Ex. 3, Dr. Fox Dep. pp. 37-38. Farmers tried the

  same thing in Dr. Mokhtee’s deposition regarding reference to any injury to the hands. Ex. 4,

  Dr. Mokhtee Dep. pp. 34-35.

         Ms. Phillips objected because the “transcript” has not been authenticated. The original

  nor a copy of the recording has been produced and there is no way to verify the authenticity or

  accuracy of the “transcript”. FRE 901, 1001 et. seq.

         4.      Testimony from the investigating police officer about “codes” on the Police

  Report is not admissible.

         This wreck happened in August 2012. The investigating police officer completed his

  report. It is attached as Ex. 5. There are injury codes on the report. The police officer checked

  some boxes on the report. The police officer did not examine Marilyn Phillips. He is not

  qualified to give a medical opinion about the cause, nature and extent of Ms. Phillips’ injuries.



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  He is a cop, not a doctor, not a nurse, not even an EMT. There is almost a 100% chance that the

  officer remembers nothing about Ms. Phillips or the wreck.

             Ms. Phillips went to the minor emergency center on the day of the wreck where they did

  do a medical examination and formed a medical diagnosis. That is admissible. Boxes checked

  on a police report are not.

             If the police officer has an independent recollection of what Ms. Phillips told him, then

  that would be admissible. It is not permissible for the police officer to say or infer that Ms.

  Phillips was not hurt because he checked boxes on a police report.

             5.       Ms. Phillips’ medical bills are not admissible.

             Ms. Phillips has elected not to pursue damages for her past medical expenses. Therefore,

  her past medical bills are not admissible. In Campbell v. Green, No. 3:13-cv-0627-LRH-WGC1,

  United States District Court for the District of Nevada, the Plaintiff was injured in a car wreck

  and filed suit. The Plaintiff Campbell (Campbell) filed a Motion in Limine, seeking to exclude

  past medical bills. Campbell argued that he did not intend to claim, as an element of his

  damages, the amount of his past medical expenses for the care and treatment of the physical

  injuries sustained in the crash. Campbell represented that he intended only to pursue damages

  related to future medical specials, if any, and past and future pain, suffering and disability, and/or

  loss of enjoyment of life he had suffered, and will continue to suffer, as a result of his injuries.

  Thus, Campbell contended that evidence related to his past medical bills and workers'

  compensation benefits was irrelevant to the remaining issues for trial and would lead to prejudice

  because of the risk that the jurors might use the amount of prior medical bills as a substitute for

  the amount for pain and suffering that should be awarded to Campbell.



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      Opinion attached as Ex. 6.

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             In support of this argument, Campbell cited numerous state and federal cases from other

  jurisdictions finding that past medical expenses are inadmissible for purposes of establishing

  pain and suffering. Campbell cited Payne v. Wyeth Pharm., Inc., No. 2:08-CV-119, 2008 WL

  4890760, at *6-7 (E.D. Va. Nov. 12, 2008)2, where the federal district court found such evidence

  inadmissible under FRE 401 and 403.           The court found “there is no logical experiential

  correlation between the monetary value of medical services required to treat a given injury and

  the quantum of pain and suffering endured as a result of that injury.” Id. (quoting Carlson v.

  Bubash, 639 A.2d 458, 462 (Pa. Super. Ct. 1994)).

             The court cited several rationales for this conclusion. For example, "the mere dollar

  amount assigned to medical services masks the difference in severity between various types of

  injuries. A very painful injury may be untreatable, or, on the other hand, may require simpler

  and less costly treatment than a less painful one." Id. (quoting Carlson, 639 A.2d at 462). In

  regards to Rule 403, the court found that, in this context, medical bills have limited probative

  value, which was substantially outweighed by the risk of jury confusion and undue delay. Id.

  ("The jury may be tempted to treat the medical bills as recoverable special damages rather than

  to only assess the medical bills as evidence that [the plaintiff] experienced pain and suffering.").

             The federal district court in Campbell found the analysis in the Payne case to be

  persuasive. Because Campbell did not seek special damages for past medical expenses, there was

  no relevance between these costs and Campbell's purported pain and suffering. Although the

  type of medical treatment that Campbell received after the accident was relevant, Campbell's

  motion and Garcia's response only addressed Campbell's "medical bills." The Court granted

  Campbell’s motion in regards to his medical bills.



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      Attached as Ex. 7.

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         The Payne court also noted that introduction of the medical bills would be overly

  cumulative because whatever tendency they would have to prove pain and suffering may already

  be amply demonstrated by other, more probative evidence, such as the testimony of the Plaintiff

  and his doctors. Id at ¶6. In this case, Ms. Phillips’ treating doctors, Dr. Fox (shoulders), Dr.

  Mokhtee (hands), Dr. Rodgers (neck and hands) and possibly Dr. Economou (eye) will testify

  about her medical treatment and the cause, nature and extent of her injuries. In addition, Ms.

  Phillips was examined by Dr. Richard Hastings who will offer more detailed testimony

  concerning the nature, extent and permanency of Ms. Phillips injuries and what treatment she

  may need in the future.

         Here the result should be no different. Ms. Phillips is not going to ask the jury to include

  compensation for her past medical bills in the jury verdict. Ms. Phillips will not introduce her

  medical bills into evidence. Medical bills, as noted by the above cited authorities, have no

  correlation to the other elements of damages a jury may consider under Oklahoma law, such as

  her physical pain and suffering, past and future; mental pain and suffering, past and future;

  physical condition immediately before and after the wreck; nature and extent of her injuries;

  whether the injuries are permanent; physical impairment; disfigurement; the reasonable expenses

  of the necessary medical care, treatment, and services in the future. OUJI Civil 4.1.

         Ms. Phillips has had surgery to repair tears in both shoulders; carpal tunnel surgery to

  both hands; surgery to repair damage to her right eye caused by an outbreak of shingles brought

  on by the stress of having traumatic injuries to both shoulders, both hands, her neck and her

  upper back, and corresponding treatment and therapy. The amount of her medical bills do not

  adequately reflect the seriousness of these injuries, particularly where, as here, the true value of




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  the amount of the medical bills is hidden from the jury and only the “discounted” amount of the

  value of the medical services is admissible. 12 O.S. § 3009.1.

         6.      Evidence of claims and lawsuits against Farmers filed by Kenney Phillips is

  not admissible.

         Kenney is Marilyn’s husband. Kenney has been in multiple car wrecks and has sued

  Farmers before and has a case pending against Farmers now. The case is pending before Judge

  Frizzell. Mr. Phillips’ claims and lawsuits against Farmers or anyone else are not relevant to the

  issues in this case where the jury just decide how much money Farmers has to pay Ms. Phillips.

                                                              Respectfully Submitted:


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                                  CERTIFICATE OF SERVICE

          The undersigned does hereby certify that on the 12th day of June, 2018, I electronically
  transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
  on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
  the following ECF registrants:

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                                                       s/Anthony M. Laizure
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